
647 S.E.2d 100 (2007)
STATE
v.
Darrell Wayne MANESS.
No. 402A06.
Supreme Court of North Carolina.
May 24, 2007.
Rex Gore, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 21st day of May 2007 by Defendant for Extension of Time to Serve Proposed Record on Appeal:
"Motion Allowed. Defendant shall have up to and including the 11th day of June 2007 to serve his/her proposed record upon the district attorney. The parties shall then proceed to settle and file the record on appeal pursuant to the provisions of Appellate Rules 11 and 12. By order of the Court in conference this the 24th day of May 2007."
